Case 15-51333-lrc
        Case 1:15-cv-02500-ELR
                  Doc 155 Filed Document
                                11/30/15 8Entered
                                            Filed 11/30/15
                                                   12/30/15 09:18:49
                                                             Page 1 of 3Desc Main
                            Document    Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN RE:                                  )      BANKRUPTCY APPEAL
                                        )
Taylor Investment Partners II, LLC, TIP )
II-Ansley, LLC, TIP II-Suburban, LLC )         CASE NO. 15-02500-ELR
                                        )
       Appellants.                      )
                                        )
       v.                               )
                                        )
Moe’s Franchisor, LLC,                  )
                                        )
       Appellee.                        )


                       NOTICE OF DISMISSAL OF APPEAL


      COME NOW, Taylor Investment Partners II, LLC, TIP II-Ansley, LLC, TIP II-

Suburban, LLC, and dismisses this appeal. The underlying bankruptcy cases for each

debtor (15-51333, 15-51335, 15-51339, respectively) were dismissed; therefore, this

appeal has become moot.

      Respectfully submitted this 30th day of November, 2015

                                              /s/
                                        Will B. Geer
                                        GA Bar #940493
                                        Attorney for Debtors
Case 15-51333-lrc
        Case 1:15-cv-02500-ELR
                  Doc 155 Filed Document
                                11/30/15 8Entered
                                            Filed 11/30/15
                                                   12/30/15 09:18:49
                                                             Page 2 of 3Desc Main
                            Document    Page 2 of 3




                                     Law Office of Will B. Geer, LLC
                                     333 Sandy Springs Circle, NE
                                     Suite 225
                                     Atlanta, GA 30328
                                     Phone: 678-587-8740
                                     Fax: 404-287-2767
                                     willgeer@willgeerlaw.com
Case 15-51333-lrc
        Case 1:15-cv-02500-ELR
                  Doc 155 Filed Document
                                11/30/15 8Entered
                                            Filed 11/30/15
                                                   12/30/15 09:18:49
                                                             Page 3 of 3Desc Main
                            Document    Page 3 of 3




                                      Certificate of Service


      This is to certify that I have this day filed the within and foregoing Notice of

Appeal using the CM\ECF system, which will deliver notice to Counsel for the

Appellee and all parties receiving electronic notices.

/s/ Will B. Geer
